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                               OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
                              POST-CONFIRMATION QUARTERLY SUMMARY REPORT

This Report is to be submitted for all bank accounts that are presently maintained by the post-confirmation debtor.
 Debtor’s Name: MabVax Therapeutics Holdings, Inc., et al.           Bank: Pacific Premier Bank

 Bankruptcy Number: 19-10603 (JTD)                                   Account Number: 1217185021
 Date of Confirmation: March 5, 2020                                 Account Type: Checking

 Reporting Period (month/year): April 1, 2020 through June 30, 2020 (Q2)

                      Beginning Cash Balance:                                                            $                    285.13

 All receipts received by the debtor:

                      Cash Sales:                                                                        $                          -

                      Collection of Accounts Receivable:                                                 $                          -

                      Proceeds from Litigation (settlement or otherwise):                                $                          -

                      Sale of Debtor’s Assets:                                                           $                          -

                      Transfers In from other Debtor Accounts:                                           $               148,500.00

                      Miscellaneous Income:                                                              $                     10.13

                      Capital Infusion pursuant to the Plan:                                             $                          -

                      Total of cash received:                                                            $               148,510.13

 Total of cash available:                                                                                $               148,795.26

 Less all disbursements or payments (including payments made under the confirmed plan) made by the Debtor:

                      Disbursements made under the plan, excluding the
                                                                                                         $                          -
                      administrative claims of bankruptcy professionals:

                      Disbursements made pursuant to the administrative
                                                                                                         $               121,263.43
                      claims of bankruptcy professionals:

                      Transfer Out to other Debtor Account:                                              $                          -

                      All other disbursements made in the ordinary course:                               $                 27,209.64

                      Total Disbursements:                                                               $               148,473.07

 Ending Cash Balance:                                                                                    $                    322.19

Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true and correct to the best of
my knowledge and belief.


Dated: July 20, 2020                                               Name/Title:
                                                                                       J. David Hansen



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                               OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
                              POST-CONFIRMATION QUARTERLY SUMMARY REPORT

This Report is to be submitted for all bank accounts that are presently maintained by the post-confirmation debtor.
 Debtor’s Name: MabVax Therapeutics Holdings, Inc., et al.           Bank: Pacific Premier Bank

 Bankruptcy Number: 19-10603 (JTD)                                   Account Number: 1202700870
 Date of Confirmation: March 5, 2020                                 Account Type: Money Market

 Reporting Period (month/year): April 1, 2020 through June 30, 2020 (Q2)

                      Beginning Cash Balance:                                                            $               208,336.75

 All receipts received by the debtor:

                      Cash Sales:                                                                        $                          -

                      Collection of Accounts Receivable:                                                 $                          -

                      Proceeds from Litigation (settlement or otherwise):                                $                          -

                      Sale of Debtor’s Assets:                                                           $                          -

                      Transfers In from other Debtor Accounts:                                           $                          -

                      Miscellaneous Income:                                                              $                     20.25

                      Capital Infusion pursuant to the Plan:                                             $                          -

                      Total of cash received:                                                            $                     20.25

 Total of cash available:                                                                                $               208,357.00

 Less all disbursements or payments (including payments made under the confirmed plan) made by the Debtor:

                      Disbursements made under the plan, excluding the
                                                                                                         $                          -
                      administrative claims of bankruptcy professionals:

                      Disbursements made pursuant to the administrative
                                                                                                         $                          -
                      claims of bankruptcy professionals:

                      Transfer Out to other Debtor Account:                                              $               148,500.00

                      All other disbursements made in the ordinary course:                               $                          -

                      Total Disbursements:                                                               $               148,500.00

 Ending Cash Balance:                                                                                    $                 59,857.00

Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true and correct to the best of
my knowledge and belief.


Dated: July 20, 2020                                               Name/Title:
                                                                                       J. David Hansen



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